            Case 4:07-cr-40006-JPG                     Document 428 Filed 08/05/10                     Page 1 of 3          Page ID
..A0245D                                                         #1399
             (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 1



                                     UNITED STATES DISTRICT COURT
                                                          Southern District of Illinois

         UNITED STATES OF AMERICA                                        Judgment in a Criminal Case
                             v.
               TERWIN L.MORGAN

                                                                         Case No. 4:07CR40006-05
                                                                         USM No. 07332-025
                                                                           Melissa A. Day, AFPD
                                                                                                  Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           as alleged below                  of the tenu of supervision.
o   was found in violation of condition(s)            _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                              Violation Ended
Statutory                         The defendant illegally possessed cocaine and marijuana                     06/30/2010



Standard # 2                      The defendant failed to submit monthly reports as directed                  06/30/2010



       The defendant is sentenced as provided in pages 2 through _----'3'-_of this judgment. The sentence is imposed pursuant to
the Sentencing Refonu Act of 1984.
o   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address untn all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and Unifed States attorney of material changes 1D
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 2730                       08/05/2010

Defendant's Year of Birth:           1981

City and State of Defendant's Residence:
Mt. Vernon, IL 62864
                                                                           J. Phil                                      District Judge



                                                                               TL
                                                                           ~                     Name and Title of Judge


                                                                                                       <;:y/d
                                                                                                        ate
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    AO 245D   (Rev. 12/07) Judgment in a Criminal Case for Revocations  #1400
              Sheet lA
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    DEFENDANT: TERWIN L.MORGAN
    CASE NUMBER: 4:07CR40006-05

                                                              ADDITIONAL VIOLATIONS

                                                                                                                      Violation
   Violation Number               Nature of Violation                                                                 Concluded
    Standard # 3                  The defendant failed to provide truthful information to probation                05/27/2010



    Standard # 5                  The defendant failed to obtain employment



    Standard # 9                  The defendant associated with a convicted felon                                  05/25/2010



    Special                       The defendant failed to make restitution payments as ordered                     05/31/2010



    Special                       The defendant failed to submit urine samples                                     07/14/2010



    Special                       The defendant failed to attend mental health evaluation                          06/24/2010




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 AO 245D                                                             #1401
               (Rev. 12/07) Judgment in a Criminal Case for Revocations
               Sheet 2- Imprisonment

                                                                                                  Judgment -   Page   _.=3_ of      3
 DEFENDANT: TERWIN L.MORGAN
 CASE NUMBER: 4:07CR40006-05


                                                                   IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
20 months




      o The court makes the following recommendations to the Bureau of Prisons:



      t/ The defendant is remanded to the custody of the United States Marshal.
      o    The defendant shall surrender to the United States Marshal for this district:
           o     at   ________ 0                           a.m.      o    p.m.    on
           o     as notified by the United States Marshal.

      o    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o     before 2 p.m. on
           o     as notified by the United States Marshal.
           o     as notified by the Probation or Pretrial Services Office.

                                                                          RETURN

 I have executed this judgment as follows:




           Defendant delivered on                                                      to

 at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL


                                                                                 By
                                                                                            DEPUTY UNITED STATES MARSHAL
